 

 

Case 3:03-Cv-00636-.]BA Dooument 101 Filed 10/11/06 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

EvELINE GoiNs
Plainriff,
. CiviL ACTIoN No.
v. ; 3103Cv 636 (JBA)
JBC & AssoCIATEs, P.C.,
JACK H. BoYAJlAN, ;
MARvIN BRANDoN z ocToBER 6, 2006

Defendants.

CORRECTED MOTION TO WITHDRAW AS COUNSEL

Pursuant to L.CiV.R. Rule 15, the undersigned attorney hereby moves for permission to
Withdraw as attorney for the defendants, JBC & ASSOClATES, P.C., JACK H. BOYAJIAN and
MARVIN BRANDON, in the above entitled matter. Attached to this motion is the notice to
such parties as required. Said notice has been sent by certified mail, return receipt requested, to
the defendants at their last known address, 2 Broad Street, 6th Floor, Bloomfield, N.l 07003,
giving the defendants notice of this motion. As grounds for this motion, the undersigned states
that there has been inadequate communication between attorney and clients for there to be
effective representation This case Went to judgment several months ago and this office has
received no communications from the clients since that time, despite several letters and
telephone messages left at the clients’ office seeking direction as to a number of post-judgment

matters Counsel for the Plaintiff does not object to this motion to Withdraw.

MAcDERMxD, REYNoLDs & GLlssMAN, P.C.
ATTORNEYS AT LAW
86 FARMiNGToN AvENuz-: - HARTFORD, coNNEcncuT 06105 - TEL. <860) 278-1900 - FAx (860) 547-1191 ~ JuRls No. 403391

 

 

 

 

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DEFENDANTS,

 

By:

 

Edward S.i§helton

Federal Bar Number (ctl 9722)
MacDermid, Reynolds & Glissman, P.C.
86 Farmington Avenue

Hartford, CT 06105

Tel. (860) 278-1900

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eshelton@mrglaw.com

CERTIFICATION
This is to certify that a copy of the foregoing motion to withdraw as counsel was
forwarded via first class mail, postage prepaid this 6th day of October, 2006 to the following
counsel of record:
Joanne S. Faulkner, Esq.

123 Avon Street
New Haven, CT 06511-2422

  

Edward S.`"‘Slfelton

MAcDERMlD, REYNoLDs 8< GLlssMAN, P.C.
ATToRNEYs AT LAW
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Case 3:03-Cv-00636-.]BA Dooument 101 Filed 10/11/06 Page 3 of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

EVEL]NE GOINS
Plaintiff,
. CIVIL ACTION NO.
v. : 3:03CV 636 (JBA)
JBC & ASSOCIATES, P.C., ET AL. : OCTOBER 6, 2006
Defendants. '

CERTIFIED MAIL: RETURN RECEIPT REQUESTED

TOZ JACK H. BOYAJIAN
MARVIN BRANDON
]BC & ASSOClATES, P.C.
2 Broad Street, 6th Floor
Bloomfield, NJ 07003

REVISED NOTICE

l. This office is filing a motion seeking the court’s permission to withdraw from
representing JBC & Associates, P. C. ,Jack H. Boyajian and Marvin Brandon, in the matter of
Eveline Goins v. JBC & Associates, P. C., et al., Civil Action No.: 3: 03- CV-636 (JBA) in the
United States District Court, District of Connecticut at New Haven;

2. If you wish to be heard with respect to the motion, you should contact the clerk’s office
to find out the date and time of the hearing;

3. You may appear in court on the date and time of the hearing at the United States District
Court, District of Connecticut at New Haven, 141 Church Street, New Haven, CT 06510 and
address the court;

4. If the motion to withdraw is granted, you should either obtain another attorney or file an
appearance on your own behalf with the court3

5. If you do not obtain another attorney or file an appearance on your own behalf, you will
not receive notices of court proceedings in the case and a default judgment may be rendered
against you; and

6. Your failure to engage successor counsel or file a pro se appearance will result m the
granting of the motion to withdraw.

 

 

Edwar,a' s."Shelton
Its Attorneys
F ederal Bar #ctl 9722

 

